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                   IN THE UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

KEVIN LAWRENCE PRENTICE                            Case No. 2:22-bk-00433-FMD
FATOU NDIAYE PRENTICE,

                   Debtors.                 /

ROBERT E. TARDIF JR., Trustee,

               Plaintiff,

v.                                                 Adv. Pro. No.

KEVIN LAWRENCE PRENTICE
FATOU NDIAYE PRENTICE,

            Defendants.
____________________________________/

                       ADVERSARY COMPLAINT FOR MONEY DUE
                        AND FOR REVOCATION OF DISCHARGE

         COMES NOW the Trustee, ROBERT E. TARDIF JR., by and through undersigned

counsel and sues the Defendants and alleges as follows:

                                            Count I

         1.    This is an adversary proceeding for money owed pursuant to 11 U.S.C. § 542.

         2.    This Court has jurisdiction over this adversary proceeding pursuant to 11 U.S.C.

 § 542 and 28 U.S.C. § 157(b)(2)(F).

         3.    This is a core proceeding under 28 U.S.C. § 157(b)(2)(F) and Rule 7008(a),

 Federal Rules of Bankruptcy Procedure.

         4.    The Plaintiff is the duly appointed Chapter 7 Trustee in the above-styled

bankruptcy case.

         5.    On September 27, 2022, the Court entered an Order approving a Stipulation on

 the Trustee’s Stipulation on Repurchase of Assets and ordered the Defendants to pay the sums

 set forth in the Stipulation and Order.
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      6.       The Defendants have failed to pay according to the terms of the Stipulation and

Order and, therefore, has failed to comply with the Court’s Order.

       7.      The Plaintiff hereby accelerates all sums due pursuant to the Stipulation and

Order. The balance due under the stipulation is $1,928.24.

       WHEREFORE the Plaintiff demands entry of a money judgment against the Defendants

and for such other and further relief as the Court deems just and proper.

                                             Count II

       8.      Plaintiff reaffirms and realleges the allegations of Paragraphs 1 through 7 above.

       9.      This is an adversary proceeding for revocation of Defendants’ discharge pursuant

               to 11 U.S.C. § 727(d)(3).

       10.     This Court has jurisdiction over this adversary proceeding pursuant to 11 U.S.C. §

               727(d)(3) and 28 U.S.C. § 157(b)(2)(F).

       11.     The Defendants were granted a discharge in this Court on September 19, 2022.

       12.     The Defendants have refused to obey a lawful order of the Court dated September

               27, 2022.

       WHEREFORE the Plaintiff demands that the Defendants’ discharge be revoked and for

such other and further relief as the Court deems just and proper.


                                                     /s/ Robert E. Tardif Jr.
                                                     Robert E. Tardif Jr., Esquire
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